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 1   PROSKAUER ROSE LLP
     ELISE M. BLOOM (admitted pro hac vice)
 2   ebloom@proskauer.com
     NEIL H. ABRAMSON (admitted pro hac vice)
 3   nabramson@proskauer.com
     ADAM M. LUPION (admitted pro hac vice)
 4   alupion@proskauer.com
     RACHEL S. PHILION (admitted pro hac vice)
 5   rphilion@proskauer.com
     NOA M. BADDISH (admitted pro hac vice)
 6   nbaddish@proskauer.com
     JOSHUA S. FOX (admitted pro hac vice)
 7   jfox@proskauer.com
     Eleven Times Square
 8   New York, NY 10036
     Telephone: (212) 969-3000
 9   Facsimile: (212) 969-2900
10   PROSKAUER ROSE LLP                        PROSKAUER ROSE LLP
     PHILIPPE A. LEBEL (SBN 274032)            MARK W. BATTEN (admitted pro hac vice)
11   plebel@proskauer.com                      mbatten@proskauer.com
     2029 Century Park East, 24th Floor        SAMANTHA R. MANELIN (admitted pro hac vice)
12   Los Angeles, CA 90067-3010                smanelin@proskauer.com
     Telephone: (310) 557-2900                 One International Place
13   Facsimile: (310) 557-2193                 Boston, MA 02110-2600
                                               Telephone: (617) 526-9600
14                                             Facsimile: (617) 526-9899

15                            UNITED STATES DISTRICT COURT
                        FOR THE NORTHERN DISTRICT OF CALIFORNIA
16
     AARON SENNE, et al.,                             Case No. CV 14-00608 JCS (consolidated with
17                                                    3:14-cv-03289-JCS)
                                 Plaintiffs,
18                                                    Hon. Joseph C. Spero
     vs.
19
     OFFICE OF THE COMMISSIONER OF                    DEFENDANT’S NOTICE OF
20   BASEBALL, an unincorporated association          COMPLIANCE WITH PARAGRAPH 21 OF
     doing business as MAJOR LEAGUE                   THE JOINT STIPULATION OF CLASS
21   BASEBALL, et al.                                 SETTLEMENT AND RELEASE

22                               Defendants.

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      DEFENDANT’S NOTICE OF COMPLIANCE WITH PARAGRAPH 21 OF THE JOINT STIPULATION OF CLASS
         SETTTLEMENT AND RELEASE – CASE NO. 3:14-cv-00608-JCS (consolidated with 3:14-cv-03289-JCS)
         Case 3:14-cv-00608-JCS Document 1216 Filed 07/28/23 Page 2 of 4


 1          Pursuant to paragraph 21 of the Joint Stipulation of Class Settlement and Release, Defendant

 2   The Office of the Commissioner of Baseball hereby provides notice to the Court that it sent a copy

 3   of the memorandum attached as Exhibit A to the Major League Clubs on July 24, 2023.

 4

 5    Dated: July 28, 2023              PROSKAUER ROSE LLP
                                        ELISE M. BLOOM (pro hac vice)
 6                                      NEIL H. ABRAMSON (pro hac vice)
                                        ADAM M. LUPION (pro hac vice)
 7                                      MARK W. BATTEN (pro hac vice)
                                        RACHEL S. PHILION (pro hac vice)
 8                                      NOA M. BADDISH (pro hac vice)
                                        JOSHUA S. FOX (pro hac vice)
 9                                      PHILIPPE A. LEBEL
                                        SAMANTHA R. MANELIN (pro hac vice)
10

11                                      By: /s/ Elise M. Bloom
                                              Elise M. Bloom
12                                            Attorneys for Defendant
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     DEFENDANT’S NOTICE OF COMPLIANCE WITH PARAGRAPH 21 OF THE JOINT STIPULATION OF CLASS
        SETTTLEMENT AND RELEASE – CASE NO. 3:14-cv-00608-JCS (consolidated with 3:14-cv-03289-JCS)
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     EXHIBIT A
             Case 3:14-cv-00608-JCS Document 1216 Filed 07/28/23 Page 4 of 4




TO:           Club Counsel

FROM:         Steve Gonzalez

DATE:         July 24, 2023

RE:           Senne Settlement – Payments to Players Outside of the Championship Season


As you know, the settlement agreement reached in the matter of Senne et al. v. Office of the Commissioner
of Baseball et al. (the “Settlement Agreement”) is now effective with all appeals of the Final Approval
Order having been withdrawn. Accordingly, per the terms of the Settlement Agreement, this is to inform
you that the Office of the Commissioner has rescinded any and all contractual prohibitions against Clubs
paying wages to minor league players outside of the championship season, and accordingly, each Club is
advised that it must compensate minor league players in compliance with wage-and-hour laws in effect in
Arizona and Florida during spring training, extended spring training, instructional leagues, and the
championship season in those states, including any minimum wage laws that apply.

Please let me know if you have any questions.
